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                    CRIM INAL CALENDAR CALL M W UTES
                                UN ITED STA TES D ISTRICT COU RT
                                SOU THERN DISTR ICT O F FLORID A

              H ON OR ABLE          FED ER IC O A .M O R EN O            Presiding

 CaseN o.     22-20008-CR-M OR EN O                 D ate:      Jlm e 14p2022

 Clerk:           Shirley Christie                  Reporter:     G ilda Pastor-llernandez

 USPO:                    N/A                       Interpreter: lk/yt

 UN ITED STA TES O F AM ER IC A vs.          ICEV FN REBOLLED O

 AU SA:     BertilaFem andez

 Defendantts)Cotmsel:           KathleenM ollison,AFPD

 Defendantts):           Present          N otPresent    xxx           ln Custody

 Reason forhearing: CalendarCallfor thetwo-week trialperiod beainninz:

                                    June21.2022

 Resultofhearing:        ChanaeofPlea H earina setforJune15,2022 at9:45 a.m .

 Tim eisEXCLUDABLE pursuantto 18U.S.C.i3161(h)(8)




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